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                                  ID #:989




                       EXHIBIT C
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                                                    ID #:990



From:                            Meyer, Robert W. (CIV) <Robert.W.Meyer@usdoj.gov>
Sent:                            Friday, May 2, 2025 11:11 AM
To:                              Brehnan, Alexander K; Sara Robinson
Cc:                              Fuchs, Yuri S (CIV); De Jarnette, Brett; Evensen, Hanna; Boyle, Taylor Jordan; Ashley
                                 Gorski
Subject:                         RE: [EXTERNAL] RE: Filing Under Seal



[External]

Alex,
Confirming that you can file your application based on Defendants’ position on sealing as of this past Tuesday.
Thanks,
Rob

From: Brehnan, Alexander K <abrehnan@cooley.com>
Sent: Friday, May 2, 2025 2:07 PM
To: Meyer, Robert W. (CIV) <Robert.W.Meyer@usdoj.gov>; Sara Robinson <srobinson@aclu.org>
Cc: Fuchs, Yuri S (CIV) <Yuri.S.Fuchs@usdoj.gov>; De Jarnette, Brett <bdejarnette@cooley.com>; Evensen, Hanna
<hevensen@cooley.com>; Boyle, Taylor Jordan <TBoyle@cooley.com>; Ashley Gorski <agorski@aclu.org>
Subject: RE: [EXTERNAL] RE: Filing Under Seal

Rob,

I am writing to memorialize our conversation this morning. Because Plaintiffs are on the cusp of filing
an application to seal that is nearly finalized this morning based off Defendants’ positions on sealing
you confirmed 3 days ago (on Tuesday), you agreed that we can file the filing as it currently stands
that we have prepared based off Defendants’ previous positions from Tuesday. To be clear, we are
also filing a memorandum in opposition to Defendants’ positions regarding the information that would
be sealed, including officers’ names.

Please confirm the above as soon as possible.

Best,
Alex
(650) 843-5402

From: Meyer, Robert W. (CIV) <Robert.W.Meyer@usdoj.gov>
Sent: Friday, May 2, 2025 9:09 AM
To: Sara Robinson <srobinson@aclu.org>; Brehnan, Alexander K <abrehnan@cooley.com>
Cc: Fuchs, Yuri S (CIV) <Yuri.S.Fuchs@usdoj.gov>; De Jarnette, Brett <bdejarnette@cooley.com>; Evensen, Hanna
<hevensen@cooley.com>; Boyle, Taylor Jordan <TBoyle@cooley.com>; Ashley Gorski <agorski@aclu.org>
Subject: RE: [EXTERNAL] RE: Filing Under Seal

[External]

Sara,

                                                            1
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                                                     ID #:991
We’ve determined that we will seek to seal only parts of the TECS records that you plan to attach to your
forthcoming motion. We will not seek to seal the FOIA records.
I’ve attached redboxed redactions reflecting those parts of the TECS records that we wish to seal. If the redacted
information is quoted in the text of your motion, we would seek to seal those quotations too.
Note that we’ve redacted the PII of non-plaintiff travelers but have left the redaction of Plaintiffs’ PII to you, though
we continue to support sealing Plaintiffs’ PII.
Best,
Rob

From: Meyer, Robert W. (CIV)
Sent: Wednesday, April 30, 2025 11:33 AM
To: Sara Robinson <srobinson@aclu.org>; Alexander K Brehnan <abrehnan@cooley.com>
Cc: Fuchs, Yuri S (CIV) <Yuri.S.Fuchs@usdoj.gov>; Brett De Jarnette <bdejarnette@cooley.com>; External - Hanna
Evensen <hevensen@cooley.com>; Taylor Jordan Boyle <TBoyle@cooley.com>; Ashley Gorski <agorski@aclu.org>
Subject: RE: [EXTERNAL] RE: Filing Under Seal

Sara,

Thanks. We’d just ask that in any statement of opposition you make clear whether there is information for which
you do not oppose our efforts to file under seal (e.g., names of CBP officers).

And after we’ve conferred more with our clients, if there is information that we have currently asked to seal but
believe can be filed publicly, we’ll notify you and draft our filings accordingly.

No objection to sealing the PII that you laid out below. Defendants would also not oppose (and will almost
certainly request) sealing of any PII of non-plaintiffs travelers too, to the extent any of that is included in the TECS
records.

Rob

From: Sara Robinson <srobinson@aclu.org>
Sent: Tuesday, April 29, 2025 4:15 PM
To: Meyer, Robert W. (CIV) <Robert.W.Meyer@usdoj.gov>; Alexander K Brehnan <abrehnan@cooley.com>
Cc: Fuchs, Yuri S (CIV) <Yuri.S.Fuchs@usdoj.gov>; Brett De Jarnette <bdejarnette@cooley.com>; External - Hanna
Evensen <hevensen@cooley.com>; Taylor Jordan Boyle <TBoyle@cooley.com>; Ashley Gorski <agorski@aclu.org>
Subject: RE: [EXTERNAL] RE: Filing Under Seal

Rob,

Thanks for confirming, we appreciate it. We will proceed as you directed. As previewed, Plaintiffs do intend to
oppose the sealing of those categories of information and documents.

Also, Plaintiffs will seek to seal discrete references to Plaintiffs’ PII in the exhibits (passport numbers, phone
numbers, email addresses, device serial/IMEI numbers, license plate numbers, and DOBs). We believe this is
uncontroversial, but let us know if you oppose.

Thank you.

Best,
Sara


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                                                                                                                                                                                                                                                                  ID #:992
From: Meyer, Robert W. (CIV) <Robert.W.Meyer@usdoj.gov>
Sent: Tuesday, April 29, 2025 12:53 PM
To: Alexander K Brehnan <abrehnan@cooley.com>
Cc: Fuchs, Yuri S (CIV) <Yuri.S.Fuchs@usdoj.gov>; Brett De Jarnette <bdejarnette@cooley.com>; External - Hanna
Evensen <hevensen@cooley.com>; Taylor Jordan Boyle <TBoyle@cooley.com>; Sara Robinson <srobinson@aclu.org>;
Ashley Gorski <agorski@aclu.org>
Subject: Re: [EXTERNAL] RE: Filing Under Seal
Alex, We don’t yet have a defi nitive answer from our clients on thes e questions . We’ ll update you as soon as w e do, but to the extent you need to start making decisi ons as you fi naliz e your filings, tak e as our position that all the items we




Alex,
We don’t yet have a definitive answer from our clients on these questions. We’ll update you as soon as
we do, but to the extent you need to start making decisions as you finalize your filings, take as our
position that all the items we discussed will need to be sealed. That includes: the entirety of the TECS
records; the names in the initial and supplemental responses to Rog 7; and the pieces of information
from TECS records that may be quoted in your filings.
Rob


                                                                                         On Apr 27, 2025, at 11:26 AM, Brehnan, Alexander K <abrehnan@cooley.com> wrote:


                                                                                         Rob/Yuri,

                                                                                         Thanks again for the call Friday on sealing of these documents. Below is our
                                                                                         understanding from the call, with one additional note about the TECS reports. Please
                                                                                         let us know if you have any corrections. As we discussed, so we can file on
                                                                                         Wednesday, we request your response by Tuesday, April 29, at 12:00 pm PT.

                                                                                                                                      1. With respect to the TECS reports:
                                                                                                                                            1. Pending the below, Defendants intend to seek to entirely seal these
                                                                                                                                                documents.
                                                                                                                                             2. The parties discussed potentially redacting the documents instead of
                                                                                                                                                sealing. Defendants will revert with their position on whether the
                                                                                                                                                documents can be redacted instead of entirely sealed.
                                                                                                                                             3. To the extent that Defendants decide to add further redactions to these
                                                                                                                                                documents rather than seek to entirely seal them, Defendants will propose
                                                                                                                                                those redactions. If Defendants determine to do so, Plaintiffs requests
                                                                                                                                                Defendants provide copies of the documents with to-be-redacted materials
                                                                                                                                                highlighted.
                                                                                                                                      2. With respect to the Defendants’ initial and supplemental responses to Plaintiffs’
                                                                                                                                         ROG 7 (“ROG 7 Responses”):
                                                                                                                                             1. Defendants intend to seek to seal the names of the officers.
                                                                                                                                      3. With respect to the information from the TECS reports and the names of officers
                                                                                                                                         in the ROG 7 responses that appear in Plaintiffs’ briefs and other exhibits:
                                                                                                                                             1. For the names of officers from TECS reports and/or ROG 7 Responses:
                                                                                                                                                      1.        Defendants intend to seek to seal the names of the officers,
                                                                                                                                                         including the highlighted names in the ROG 7 Responses.
                                                                                                                                             2. For the text field names from TECS reports:
                                                                                                                                                      1.        To the extent this information was produced in unredacted
                                                                                                                                                         form during this litigation, Defendants intimated that they would not
                                                                                                                                                         seek to seal this information but will revert to confirm their position.
                                                                                                                                                                                                                                                                     3
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                   2.        To the extent this information was produced in unredacted
                      form in response to a FOIA request, Defendants intimated that they
                      would seek to seal this information if it was not otherwise produced
                      during this litigation but will revert to confirm their position.
           3. The titles of supervisors
                   1.        Defendants intimated that they would not seek to seal this
                      information but will revert to confirm their position.
                   2.        Plaintiffs note that the responses to ROG 7 also contain titles
                      and were not previously highlighted.
           4. The names of the TECS reports
                   1.        Defendants intimated that they would not seek to seal this
                      information but will revert to confirm their position.

Best,
Alex
(650) 843-5402

From: Brehnan, Alexander K
Sent: Friday, April 25, 2025 10:12 AM
To: 'Fuchs, Yuri S (CIV)' <Yuri.S.Fuchs@usdoj.gov>; Meyer, Robert W. (CIV)
<Robert.W.Meyer@usdoj.gov>
Cc: De Jarnette, Brett <bdejarnette@cooley.com>; Evensen, Hanna <hevensen@cooley.com>; Boyle,
Taylor Jordan <TBoyle@cooley.com>; Sara Robinson <srobinson@aclu.org>; Ashley Gorski
<agorski@aclu.org>
Subject: RE: Filing Under Seal

Yuri,

In preparation for our call later today, here are the categories of information that appear
in our briefs and exhibits from the documents designated “confidential.”

   1.   The names of officers from TECS reports / ROG 7
   2.   The code names from TECS reports
   3.   The titles of supervisors
   4.   The names of the TECS reports

We will see you at 1PM PT / 4PM ET.

Best,
Alex
(650) 843-5402

From: Fuchs, Yuri S (CIV) <Yuri.S.Fuchs@usdoj.gov>
Sent: Wednesday, April 23, 2025 1:25 PM
To: Brehnan, Alexander K <abrehnan@cooley.com>; Meyer, Robert W. (CIV)
<Robert.W.Meyer@usdoj.gov>
Cc: De Jarnette, Brett <bdejarnette@cooley.com>; Evensen, Hanna <hevensen@cooley.com>; Boyle,
Taylor Jordan <TBoyle@cooley.com>; Sara Robinson <srobinson@aclu.org>; Ashley Gorski
<agorski@aclu.org>
Subject: RE: Filing Under Seal

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                                           ID #:994
[External]

Alex,

We should be available Friday afternoon ET here to discuss. If you want to circulate an invite for
that time, we’re happy to talk then.

Thanks,
Yuri

From: Brehnan, Alexander K <abrehnan@cooley.com>
Sent: Wednesday, April 23, 2025 3:33 PM
To: Meyer, Robert W. (CIV) <Robert.W.Meyer@usdoj.gov>; Fuchs, Yuri S (CIV) <Yuri.S.Fuchs@usdoj.gov>
Cc: De Jarnette, Brett <bdejarnette@cooley.com>; Evensen, Hanna <hevensen@cooley.com>; Boyle,
Taylor Jordan <TBoyle@cooley.com>; Sara Robinson <srobinson@aclu.org>; Ashley Gorski
<agorski@aclu.org>
Subject: [EXTERNAL] Filing Under Seal

Rob and Yuri,

Plaintiffs intend to file documents with their anticipated motions to compel that
Defendants have designated as “Confidential” under the Protective Order in this
case. Pursuant to Section 12.4 of the Protective Order and Local Rule 79-5, we write to
schedule a meet and confer in an attempt to eliminate or minimize the need for filing
documents under seal.

Specifically, we intend to file, which are attached, (1) the documents Bates stamped
KARIYE-CBP-00000098-103, KARIYE-CBP-00000113-14, KARIYE-CBP-00000121-22,
and KARIYE-CBP-00000152-53, (2) documents produced pursuant to a FOIA request,
and (3) Defendants’ 2023 response and 2025 supplemental response to ROG 7.

Additionally, we intend to include references to information within the documents listed
above in the text of our motions to compel and in other exhibits consisting of email
chains between the parties. We will provide a list of the specific information.

Please let us know when you are available tomorrow or Friday to discuss whether
Defendants intend to maintain the confidentiality designations on these materials and
the next steps in moving this forward under the Protective Order and Local Rules.

By including the documents produced pursuant to a FOIA request above, Plaintiffs
simply seek to respect the Protective Order in this litigation and do not waive our right to
otherwise use or disclose those documents in any way outside of this litigation.

Best,
Alex

Alexander K. Brehnan
Cooley LLP
3175 Hanover Street
Palo Alto, CA 94304-1130
(650) 843-5402 office
                                                  5
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                                                                       ID #:995
           (650) 647-0115 direct
           abrehnan@cooley.com



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